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              IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                      CHARLESTON DIVISION

UNITED STATES OF AMERICA

v.                                                   Case No. 2:21-cr-00062-1

LARRY ALLEN CLAY, JR.

                      SENTENCING MEMORANDUM

      Defendant, LARRY ALLEN CLAY, JR., submits this Sentencing

Memorandum evaluating each one of the various factors under 18 U.S.C. §

3553(a) for the Court’s consideration at the Sentencing hearing scheduled

for September 28, 2023, at 1.30 p.m., in Charleston, WV.


      The court in determining the particular sentence to be imposed and

the need for a variance, shall consider the factors found at 18 U.S.C. §

3553(a). These factors include; the nature and circumstance of the offense

and the history and characteristics of the defendant, the need to reflect the

seriousness of the offense, to promote respect for the law and provide just

punishment for the offense, to afford adequate deterrence to criminal

conduct, to protect the public from further crimes of the defendant, and to

provide the defendant with needed vocational or educational training,

medical care, or other correctional treatment in the most effective manner.
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The defendant respectfully requests the court to sentence him to a

minimum term of incarceration of 15 years.


  BACKGROUND – NATURE & CIRCUMSTANCES OF THE OFFENSE


      On March 24, 2021, the Grand Jury for the United States District

Court for the Southern District of West Virginia returned a multi count

indictment against LARRY ALLEN CLA,Y, JR. and his co-defendant,

charging the defendants with Sex Trafficking of a Minor, in violation of 18

U.S.C. § 1591(a)(1). On November 1, 2022, a Federal Grand Jury returned

a four count, Fifth Superseding indictment against Mr. Clay, charging him

with Conspiracy to Engage in Sex trafficking of a minor and via coercion,

Sex trafficking of a minor and via coercion, and three counts of Obstruction

of Justice.


      The Defendant and counsel appeared for a Jury trial on the dates of

April 25, 2023 and the jury trial concluded on April 28, 2023, with the Jury

returning a verdict of Guilty on all five counts. The charges against his co-

defendant, who had previously pled guilty to one count of the indictment

was adjudicated and the co-defendant was sentenced to 108 months.
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      The defendant is accused of having sex with a minor step daughter of

his co-defendant on two occasions and also attempting to obstruct justice

on three occasions.


        HISTORY AND CHARACTERISTICS OF THE DEFENDANT


      LARRY ALLEN CLA,Y, JR., was born to the marital relationship of

Larry Allen Clay and Lodema Clay. He has three siblings, Terry Clay,

Crystal Clay Bishop, and Monica Gibson. The defendant grew up in a

divorced family, but still has regular contact with all of his family. It should

be noted that both of his sisters and his elderly mother appeared during the

entirety of the four day trial.


      Mr. Clay has one child, Christopher Clay, with whom he has regular

contact. Mr. Clay is very close to his family.


      Mr. Clay suffers from various ailments and is in poor health. He

currently is suffering from heart, lunch and spinal issues. He is currently

prescribed a rescue inhaler for his asthma. During his time of incarceration

at the Carter County Detention Center, Mr. Clay has been diagnosed with

Tachcardia, which has caused him to have a racing heartbeat. He also

suffers from a bad heart valve and fluid around his heart.
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      The defendant was a licensed HVAC tech for close to twenty years.

He owned his own business, Clay’s Heating and Air Conditioning. At a later

part of his life, the defendant left this occupation to pursue his lifelong

dream of becoming a police officer. He went the West Virginia Police

Academy and graduated and was sworn in as a law enforcement officer.

He joined the Fayette County Sheriffs Department in June of 2012, and

worked there until September, 2020. Mr. Clay was also the Police Chief for

the Gauley Bridge Police Department from 2019 until 2020.


      As can be evidenced by the letters written by Amber Clay, Crystal

Bishop, Drema Williams, Earl Walton, Gregg A. Childers, James Matheny,

Michael Bishop, Monica Bishop, Shirley Walton, Larry Allen Clay, Sr.,

Lodema Clay and attached as Exhibits 1 - 11, Mr. Clay was a good man,

who went astray on a few occasions.


                      THE DEFENDANTS SENTENCE


      Mr. Clay, would be the classic person that needs to be punished,

deterred, and rehabilitated, not convicted, warehoused and forgotten. The

need for the sentence to promote respect for the law and to provide just

punishment can be attained by the Court by granting a downward variance
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and sentencing Mr. Clay, to a minimum term of incarceration of fifteen

years.


      As you can see in the PSI, Mr. Clay has no criminal history. He has

never even received a speeding ticket. Furthermore, he does not use

drugs. He has either been fully employed working two jobs his entire life,

but in his retirement age, will lose everything and most importantly his

freedom.


      Even people like Mr. Clay, need help when they fall to the ground.

Instead of putting him in prison and warehousing him, Mr. Clay, is someone

who can be helped, and will more than likely, never repeat this crime again.

This indictment has already changed his life. If the United States

Department of Justice intends to make changes to fix our burgeoning

prison problem, we need a place to start and someone to start this with,

and Mr. Clay, is probably the best candidate to do so. In the alternative if

the Court is determined to send the defendant to prison, we would

respectfully request the court to offer a term of imprisonment that is at the

bottom end of the mandatory minimum sentence.
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                DEFENDANTS REMAINING OBJECTIONS


     ¶ 36. There is no evidence in the record that a smart phone was used
           to facilitate this transaction. Thus the 2 point enhancement
           should not apply.

     ¶ 41. Thus, the Adjusted Offense Level must be 36.

     ¶ 54. Thus, with the Grouping, it should be 37.

     ¶ 55. We do not believe USSG § 4B1.5(b) applies in this situation and
           we also believe that with the five points added, it should be 42.
           Or it should be a 37.

     ¶ 80. With a Total offense level of 38 and a criminal history of I, the
           guideline range is from 235-293.

 DEFENDANTS JSIN DATA COMPARISON – FEDERAL DEFENDANTS

                           IN SELECTED CELL


     During the last five fiscal years (FY2018-2022), there were 59

defendants whose primary guideline was §2G1.3, with a Final Offense

Level of 43 and a Criminal History Category of I, after excluding defendants

who received a §5K1.1 substantial assistance departure. For the 59

defendants (100%) who received a sentence of imprisonment in whole or in

part, the average length of imprisonment imposed was 315 month(s) and

the median length of imprisonment imposed was 300 month(s). For all 59
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defendants in the cell, the average sentence imposed was 315 month(s)

and the median sentence imposed was 300 month(s).

      The sentencing data provided does not reflect the Commission’s

recommendation regarding the appropriate sentence to be imposed or

represent the Commission’s official position on any issue or case. Nor does

the information provided reflect the Commission’s position regarding the

weight to be given, if any, to the above sentencing information in a court’s

determination of the appropriate sentence to be imposed.

      If the court does consider the above sentencing information as part of

its consideration of the factors in 18 U.S.C. § 3553(a) in imposing

sentence, it should do so only after considering the properly calculated

guideline range and any applicable departures provided for in the

Guidelines Manual.
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     WHEREFORE, we would respectfully submit that the court grant the

Defendant a downward variance and sentence him to a term below the

guidelines, which is no more than necessary to promote respect for the law,

yet at the same time be a deterrent for future criminal behavior, by

sentencing him to a term of fifteen years.


     Respectfully submitted this 20th day of September, 2023.

                                    Very truly yours,


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                                    /s/ Sebastian M. Joy________________
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             IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                          CHARLESTON DIVISION

UNITED STATES OF AMERICA
vs.                                         Criminal No. 2:21-CR-00062-1

LARRY ALLEN CLAY, JR.

                          CERTIFICATE OF SERVICE


      The undersigned hereby certifies that the foregoing SENTENCING
MEMORANDUM and EXHIBITS 1-11 has been electronically filed with the
Clerk of Court this date using the CM/ECF system and served upon
opposing counsel as follows:

VIA CM/ECF:          Hon. Jenny Herrald, Esq. AUSA
                     Office of the United States Attorney
                     Southern Division of West Virginia
                     300 Virginia Street East, Room 4000
                     Charleston, WV 25301

DATE:                September 20, 2023

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                                      /s/ Sebastian M. Joy________________
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